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EXHIBIT P
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

)
MICHAEL DARDASHTIAN, individually and on _) Case No. 17 CV 4327 (LLS)

behalf of COOPER SQUARE VENTURES, LLC)
NDAP, LLC and CHANNEL REPLY
Plaintiffs,

CERTIFICATION OF
DAVID GITMAN

-against-

DAVID GITMAN, JEREMY FALK, SUMMIT

ROCK HOLDINGS, LLC, ACCEL COMMERCE,

LLC, DALVA VENTURES, LLC,

KONSTANTYN BAGAIEV, OLESKKII

GLUKHAREV and CHANNEL REPLY, INC.
Defendants.

Nemec Newer? Stl Sena Meme Senet? Sawet  Nnme  Seet cee Ne Net

 

I, DAVID GITMAN, pursuant to the requirements of 28 U.S.C. § 1746, hereby certify as

follows:

1. Iam one of the defendants in this action. I have personal knowledge of the matters
stated in this declaration.

2. Iunderstand that Michael Dardashtian, individually and on behalf of Cooper Square
Ventures, LLC, NDAP, LLC, and Channel Reply (the "Plaintiffs") have filed a lawsuit
against me and others, alleging, among other things, that I took from Plaintiffs "[p]hysical
and/or electronic copies, backups, discs, drives, including but not limited to USB drives, or
other storage devices containing copies or originals" of Plaintiffs’ "Confidential Information
as defined in the [Cooper Square Ventures, LLC] Operating Agreement, trade secrets,
company data or other property now in Defendant Gitman, Dalva Ventures, Channel Reply,

Inc. and Accel Commerce's possession, custody, or control" (the "Materials"). See Order
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Amending 6/8/17 Order to Show Cause for Preliminary Injunction and Temporary Restraints
(the "Order"), ¥[s.

3. Idid not make any copies, in any format (print or electronic), of any of the Materials
and do not have any such materials in my possession, custody, or control.

4. I further understand that the Court has directed me to "[i]mmediately provide and
restore Plaintiffs Michael Dardashtian with full and complete access to all NDAP, CSV, and
Channel Reply electronic accounts, including but not limited to, all password access to all
codes, accounts on Google Domain, bank accounts, e-mail accounts, payment portal
accounts, and/or any other password-protected account and information relating to NDAP,
CSV, and Channel Reply, including all twenty-two (22) accounts listed in Exhibit 58 to the
Affidavit of Michael Dardashtian in support of the OSC." Order, { g.

5. Ihave provided Mr. Dardashtian with full and complete access to all existing NDAP,
CSV and Channel Reply electronic accounts which are owned and/or paid for by Mr.
Dardastian and/or the plaintiff entities, which I have knowledge of and access to. Mr.
Dardastian may have access to other accounts which J am not aware of and which I do not
have access to.

6. I further understand that the Court has directed me to redeposit into the CSV Bank of
America banking account all monies recently withdrawn by me from this account and to pay
any overdraft fees incurred since May 27th, 2017. Order, {[b.

7. Ihave transferred to the CSV Bank of America banking account all monies

withdrawn by me from this account since May 27, 2017.
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I hereby certify that the foregoing statements by me are true. I am aware that if any

of the foregoing statements are willfully false that J am subject to punishment.

Dated: June 13, 2017

Lat A

avid Gitman

Doc ID Include Date Include Time
Include Draft
